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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

        CHAMBERS OF                                                                 U.S. COURTHOUSE
     CATHERINE C. BLAKE                                                        101 WEST LOMBARD STREET
UNITED STATES DISTRICT JUDGE                                                  BALTIMORE, MARYLAND 21201
                                                                                       (410) 962-3220
                                                                                     Fax (410) 962-6836
                                        December 11, 2020

 MEMORANDUM TO COUNSEL

    Association of Community Cancer Centers et al. v. Azar et al., CCB-20-3531

 Dear counsel:

         This letter is to confirm the results of today’s conference call establishing a TRO
 briefing schedule. The government will file its response by close of business on Tuesday,
 December 15, 2020; the plaintiffs will reply by close of business on Wednesday,
 December 16, 2020; and oral argument will be heard via Zoom on Friday, December 18,
 2020, at 10:00 am EST. A Zoom invitation will be forthcoming.

        Despite the informal nature of this letter, it shall constitute an Order of Court, and
 the Clerk is directed to docket it accordingly.

                                               Sincerely yours,

                                                      /S/
                                               Catherine C. Blake
                                               United States District Judge
